       Case 2:23-cv-00067-MJP        Document 85      Filed 04/05/24    Page 1 of 2




         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON
                                AT SEATTLE



       OPPENHEIMER,                                  JUDGMENT IN A CIVIL CASE

                            Plaintiff,               CASE NO. C23-67 MJP

              v.

       STEVEN MITCHELL, DORI
       MITCHELL, JEROME HOPPER, and
       LORI HOPPER,

                            Defendant.




       Jury Verdict. This action came before the court for a trial by jury. The issues
       have been tried and the jury has rendered its verdict.

X      Decision by Court. This action came to consideration before the court. The issues
       have been considered and a decision has been rendered.

     THE COURT HAS ORDERED THAT

Plaintiff Oppenheimer is entitled to complete relief on its declaratory judgment action.
The Court DECLARES Oppenheimer has no obligation to arbitrate any and claims
Defendants asserted or could have asserted against Oppenheimer in the FINRA
arbitration. The Court PERMANENTLY ENJOINS Defendants from arbitrating against
Oppenheimer any claims they asserted or could have asserted against Oppenheimer in the
FINRA arbitration.

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Case 2:23-cv-00067-MJP   Document 85   Filed 04/05/24   Page 2 of 2




Dated April 5, 2024.



                              Ravi Subramanian
                              Clerk of Court

                              s/ Serge Bodnarchuk
                              Deputy Clerk
